      Case 3:16-md-02741-VC           Document 19956          Filed 12/20/24      Page 1 of 2




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 303: ORDER
                                                     DENYING PLAINTIFF’S MOTION TO
   Iona v. Monsanto Co.,                             EXCLUDE EXPERT WODA
   Case No. 3:20-cv-02404-VC
                                                     Re: Dkt. No. 19049



         The above-captioned motion regarding Dr. Bruce Woda is denied. This ruling assumes

the reader’s familiarity with the facts, the applicable legal standard, the prior Daubert rulings in

this MDL, and the arguments made by the parties. See generally In re Roundup Products

Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order No. 45, Dkt. No.

1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D. Cal. 2019)

(Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Company, 997 F.3d 941 (9th Cir.

2021).

         Plaintiff Iona challenges both Dr. Woda's qualifications and the substance of his

opinions. With respect to his qualifications, although at the hearing Dr. Woda appeared to

exaggerate the extent to which he engages with epidemiology in his own day-to-day practice, the

Court cannot conclude—considering his overall training and experience—that he is unqualified

to provide an opinion on the epidemiological studies related to glyphosate. With respect to

substance, the mere fact that Dr. Woda began his literature search using the Google search

engine does not render his opinion or his methodology unreliable.
     Case 3:16-md-02741-VC   Document 19956   Filed 12/20/24   Page 2 of 2




      IT IS SO ORDERED.

Dated: December 20, 2024
                                  ______________________________________
                                  VINCE CHHABRIA
                                  United States District Judge




                                     2
